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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA,                    }
              Plaintiff-Respondent           }
                                             }
v.                                           }      CRIMINAL ACTION NO. H-95-142-43
                                             }      CIVIL ACTION NO. H-03-3861
FEDERICO PEREZ, JR.,                         }
              Defendant-Petitioner           }


                              ORDER DISMISSING ACTION



       After careful and independent consideration of the record in this case, the Court

       ORDERS that Petitioner Federico Perez Jr.’s Motion to Vacate, Set Aside or Correct

Sentence pursuant to 28 U.S.C. § 2255 is DENIED and his action DISMISSED.

       SIGNED at Houston, Texas, this 27th day of September, 2006.




                                                    ______________________________________
                                                             MELINDA HARMON
                                                      UNITED STATES DISTRICT JUDGE
